    Case 1:21-cr-00371-BMC-TAM Document 322 Filed 10/14/22 Page 1 of 5 PageID #: 8418




                                                                                                                    787 Seventh Avenue
                                                                                                                    New York, NY 10019-6099
                                                                                                                    Tel: 212 728 8000
                                                                                                                    Fax: 212 728 8111


        October 14, 2022

        VIA ECF

        The Honorable Brian M. Cogan
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

        Re: United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al., 1:2l-cr-371 (BMC) (S-1)

        Dear Judge Cogan:

                We write on behalf of Mr. Barrack to respectfully request re-argument concerning one
        aspect of the Court’s ruling on October 13, 2022 concerning the privileged status of certain
        documents logged by counsel for Alison Marckstadt. Specifically, counsel respectfully requests
        that the Court reconsider its finding, as stated on October 13, 2022, that all communications with
        Mr. Davis are not privileged. Counsel for Mr. Barrack understands that this submission is
        untimely, should have been filed before the Court reviewed the communications challenged by the
        Government and apologizes deeply for the error. That was an error which sits firmly on the
        shoulders of Mr. Barrack’s counsel, not Mr. Barrack.

                Mr. Barrack, along with Ms. Marckstadt’s counsel, intends to fully comply with the Court’s
        ruling regarding the 48 documents that were submitted for in camera review. In addition, the
        Court stated the following:

                 The only ones I can say are clearly privileged -- and that is being generous on the issue --
                 8389, 8400 and 8787. And the rest of them you have to go through the process I suggested,
                 which is if it is a transmission of a pre-existing document, the pre-existing document is not
                 privileged. The cover memo may be, if it relates to communications between the attorneys
                 that led to the sending of the documents.

                 Now, the other thing that [Ms. Marckstadt] did not say, nor did her letter brief, nor did Mr.
                 Barrack's team, is these documents have been largely shared with some third-parties. And
                 I have no idea who those third-parties are, but generally speaking, when you share a
                 privileged document with a third-party, you lose the privilege. For example, several
                 of the documents, in fact some substantive memos, are between Tommy Davis and
                 O'Melveny. I happen to know who Tommy Davis is. I don't think he practices law
                 and no one has told me what he is doing in this case. Those are not privileged.

        Mr. Barrack now respectfully asks the Court for the opportunity to explain that Mr. Davis is a
        litigation, crisis management and media relations consultant who has been retained by Mr.


N EW Y ORK   W ASHINGTON   H OUSTON   P ALO A LTO   S AN F RANCISCO   C HICAGO   P ARIS   L ONDON   F RANKFURT   B RUSSELS   M ILAN   R OME
Case 1:21-cr-00371-BMC-TAM Document 322 Filed 10/14/22 Page 2 of 5 PageID #: 8419




  Barrack’s defense counsel since 2019, and to argue that, at least in certain instances, Mr. Davis
  falls within Mr. Barrack’s privilege and thus, communications concerning privileged defense
  strategy and litigation considerations, but which include Mr. Davis, should remain protected by
  Mr. Barrack’s privilege.1

          The factual background concerning Mr. Davis’s role on the defense team is set forth in
  detail in the attached Declaration of James Bowman, which is attached to this letter as Ex. A (the
  “Bowman Declaration”). In addition, a short declaration from Mr. Davis is attached as Ex. F. In
  particular we ask the Court to consider that many of the key allegations and evidence in this case
  relate to Mr. Barrack’s engagement with the media and this fact has necessitated the specific
  expertise of Mr. Davis in preparing Mr. Barrack’s defense.

                                            Legal Argument

         Defense Communications Involving Litigation Consultants Do Not Waive Privilege.

          As the Second Circuit has acknowledged, privileged communications may include
  individuals other than the defendant and his attorneys, where the other individuals facilitate
  counsel’s provision of legal advice. See e.g., United States v. Kovel, 296 F.2d 918, 922 (2d Cir.
  1961) (“the presence of an accountant, whether hired by the lawyer or by the client . . . ought not
  destroy the privilege . . . the presence of the accountant is necessary, or at least highly useful, for
  the effective consultation between the client and the lawyer which the privilege is designed to
  permit.”). The attorney-client privilege extends to “those assisting a lawyer in representing a
  client,” Gawker Media v. EJ Media Grp., 2014 WL 1789293, at *1 (N.Y. Sup. Ct. May 6, 2014),
  if the communication is made in confidence and to facilitate the provision of legal advice. See
  JBGR LLC v. Chicago Title Ins. Co., 2017 WL 3480245, at *3 (N.Y. Sup. Ct. Aug. 2, 2017); see
  also McNamee, McNamee v. Clemens, 2013 WL 6572899, at *5 (E.D.N.Y. Sept. 18, 2013).

          The law also protects investigators hired by defense counsel, where they are working at the
  direction of counsel. In re Grand Jury Proceeding, 79 F. App'x 476, 477 (2d Cir. 2003) (“The
  attorney-client privilege may extend to communications with a third party, such as an accountant
  or private investigator hired to assist in the rendition of legal services.”). In re Grand Jury
  Subpoena Dated Mar. 20, 2013, No. 13-MC-189, 2014 WL 2998527, at *8 (S.D.N.Y. July 2,
  2014). Private investigators are “within a certain class of professionals” whose work is necessary,
  “or at least highly useful, for the effective consultation between the client and the lawyer which
  the privilege is designed to permit.” Id.; see also U.S. Dep't of Educ. v. Nat'l Collegiate Athletic
  Assn., 481 F.3d 936, 938 (7th Cir.2007) (quoting Kovel, 296 F.2d at 922) (“[T]here is no private -
  investigator's privilege. [But][t]he lawyer-client privilege can embrace a lawyer's agents
  (including an investigator), for example when the ‘client in the first instance consults a lawyer who

  1
    As described in the Bowman Declaration, Mr. Davis was retained as a litigation and public
  relations consultant for Mr. Barrack’s then-criminal defense counsel, Paul Hastings, LLC. A
  true and correct copy of Mr. Davis’ August 2021 consulting agreement is attached as Exhibit 1 to
  the Bowman Declaration. Additionally, in February 2019 during the investigation of this matter,
  Mr. Davis and Davis Advisors, LLC were also retained by Paul Hastings as a litigation and
  public relations consultant. A true and correct copy is attached as Exhibit 2 to the Bowman
  Declaration.

                                                   -2-
Case 1:21-cr-00371-BMC-TAM Document 322 Filed 10/14/22 Page 3 of 5 PageID #: 8420




  retains an accountant as a listening post.’ ”); In re Grand Jury Proceeding, 79 F. App'x 476, 477
  (2d Cir.2003) (“Under certain limited circumstances ... the attorney-client privilege may extend
  to communications with a third party, such as an accountant or private investigator hired to assist
  in the rendition of legal services.”). A contrary conclusion would force attorneys to forego the
  services of private investigators, lest their communications with the investigators ultimately be
  revealed at the business end of a subpoena. In re Grand Jury Subpoena Dated Mar. 20, 2013, No.
  13-MC-189, 2014 WL 2998527, at *8 (S.D.N.Y. July 2, 2014). As Judge Friendly recognized
  in Kovel, the privilege must extend to encompass the realities of modern legal
  practice. See Kovel, 296 F.2d at 920–21.

          Furthermore, courts have “extend[ed] the protection of the attorney-client privilege to a
  party’s and its counsel’s communications with a public relations consultant which are directed at
  supporting the client’s legal position.” Grand Canyon Skywalk Dev. LLC v. Cieslak, 2015 WL
  4773585, at *9 (D. Nev. Aug. 13, 2015). Here, as described in the Bowman Declaration, Mr.
  Davis serves as a litigation consultant with wide responsibilities, including factual investigation,
  media relations and consulting, at the direction of defense counsel. Indeed, with respect to a public
  relations consultant, the law is clear that privilege may apply. For example, the SDNY has
  recognized the following as valid legal purposes for which a consultant can be advised, without
  breaking privilege:

             o Assisting with the law firm’s representation of the client in connection with specific
               litigation and facilitate the rendition of legal services;

             o Advising the client of the legal risks of speaking publicly (including in light of local
               rules) and of the likely legal impact of possible alternative expressions;

             o Making efforts in support of client’s seeking of acquittal or vindication; and

             o Advisory work regarding how possible statements to the press would be reported
               in order to advise a client as to whether the making of particular statement would
               be in the client’s best interest legally.

  See In re Grand Jury Subpoenas Dated March 24, 2003 Directed to (A) Grand Jury Witness Firm
  and (B) Grand Jury Witness, 265 F.Supp. 2d 325, 331 (S.D.N.Y. 2003). In In re Grand Jury
  Subpoenas, the court held that communications involving media relations experts were privileged,
  and the court acknowledged that the practice of law can touch on public relations and media issues.
  See 265 F. Supp. at 331. The court held that whether the communications took place in the
  presence of the attorney was not important so long as the communication was for legal purposes.
  Id.

           Thus, where Mr. Davis is included in strategic communications, alongside defense counsel,
  and where Mr. Barrack’s litigation strategy, including evaluations of the strengths and weaknesses
  of the Government’s charges, is being discussed, his inclusion should not serve as a waiver of the
  privilege that otherwise attaches to those communications. By way of example, there are multiple
  entries on Ms. Marckstadt’s privilege log that Mr. Barrack submits are clearly privileged, even
  though they include Mr. Davis. See Ex. B, C, D. Mr. Barrack contends that these communications
  fall cleanly within the guidance set forth by the Second Circuit with respect to litigation consultants


                                                   -3-
Case 1:21-cr-00371-BMC-TAM Document 322 Filed 10/14/22 Page 4 of 5 PageID #: 8421




  and submits that these communications, and the other communications like them, need not be
  produced to the Government.2

          In addition, communications between Mr. Barrack and Mr. Davis, including Ms.
  Marckstadt, but not including attorneys, may still fall within the privilege. Mr. Barrack agrees that
  not every communication between Mr. Davis and Ms. Marckstadt would constitute privileged
  material, nor would every communication between Mr. Davis and Mr. Barrack. But where those
  communications are to further defense strategy, or where they discuss privileged information, they
  do fall within the privilege. For example, see Ex. E.3 That is especially true given that Mr. Barrack
  understood that Mr. Davis fell within the privilege and thus worked with him on defense strategy
  and approach. See In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 352 F.
  Supp. 3d 207, 211 (E.D.N.Y. 2019) (“Communications fall within the exception [to third-party
  waiver] if the parties had a reasonable expectation of confidentiality and the third party was ‘nearly
  indispensable or served some specialized purpose in facilitating the attorney-client
  communication.’”)

         There are approximately 288 communications on Ms. Marckstadt’s privilege log that
  include Mr. Davis. Counsel respectfully requests that the Court reconsider its finding, as stated on
  October 13, 2022, that all communications with Mr. Davis are not privileged.

  Sincerely,

  WILLKIE FARR & GALLAGHER LLP

  /s/ Michael S. Schachter
  Michael S. Schachter
  Randall W. Jackson
  Steven J. Ballew

  O'MELVENY & MYERS LLP


  James A. Bowman

  Counsel for Defendant
  Thomas J. Barrack, Jr.

  Cc (via ECF): Hiral D. Mehta

  2
    Indeed, given that these communications post-date the Indictment and concern Mr. Barrack’s
  legal strategy, they have no relevance to the Government, or the issues that the Government must
  prove to the jury, and their disclosure would have no impact other than to severely prejudice Mr.
  Barrack by giving the Government a window into defense counsel’s thinking, hamstringing Mr.
  Barrack’s efforts to mount an effective defense. That is unfair.
  3
   This document is not on Ms. Marckstadt’s log, as it does not include her, but is included here as
  an example of the types of communications between Mr. Barrack and Mr. Davis.

                                                   -4-
Case 1:21-cr-00371-BMC-TAM Document 322 Filed 10/14/22 Page 5 of 5 PageID #: 8422




  Nathan Daniel Reilly
  Ryan C. Harris
  Samuel P. Nitze
  Craig R. Heeren
  Matthew John McKenzie




                                       -5-
